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                     UNITED STATES COURT OF APPEALS                     FILED
                            FOR THE NINTH CIRCUIT                        JAN 3 2023
                                                                    MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
DZ RESERVE; CAIN MAXWELL, DBA                  No.    22-15916
Max Martialis,
                                               D.C. No. 3:18-cv-04978-JD
                 Plaintiffs-Appellees,         Northern District of California,
                                               San Francisco
 v.
                                               ORDER
META PLATFORMS, INC., FKA
Facebook, Inc.,

                 Defendant-Appellant.

Before: Lisa B. Fitzgerald, Appellate Commissioner.

      Appellant’s unopposed motion (Docket Entry No. 27) to submit a corrected

version of Volume 4 of the excerpts of record is granted. The Clerk will strike

Docket Entry Nos. 12-3 and 23-2. The Clerk will file under seal the corrected

Volume 4 of the excerpts of record (Docket Entry No. 30). The Clerk will file

publicly the redacted Volumes 3 through 5 of the excerpts of record (Docket Entry

No. 31).

      The existing briefing schedule remains in effect.




MKS/MOATT
